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11                              UNITED STATES DISTRICT COURT

12                            NORTHERN DISTRICT OF CALIFORNIA

13                                   SAN FRANCISCO DIVISION

14
       UNITED STATES OF AMERICA,                    Case No. 3:20-cr-00337-WHO
15
                            Plaintiff,
16                                                  DEFENDANT JOSEPH SULLIVAN’S
                       v.
17                                                  NOTICE OF MOTION AND MOTION TO
       JOSEPH SULLIVAN,                             DISMISS WIRE FRAUD COUNTS
18                                                  (COUNTS THREE, FOUR, AND FIVE)
                            Defendant.
19                                                  Date: June 2, 2022
                                                    Time: 1:30 p.m.
20                                                  Crtrm: 2, 17th floor
21
                                                    Hon. William H. Orrick
22

23

24

25

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27
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                                 NOTICE OF MOTION AND MOTION
 1
            TO THE COURT, Defendant JOSEPH SULLIVAN, through his attorneys, moves under
 2
     Fed. R. Crim. P. 12(b)(3) for an Order dismissing the wire fraud counts in the superseding
 3
     indictment (Counts 3, 4, and 5) for failure to charge an offense. In support of the motion,
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     Sullivan relies on the attached Memorandum of Points and Authorities. This motion is noticed
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     for the Court’s criminal calender on June 2, 2022 at 1:30 p.m.
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                         MEMORANDUM OF POINTS AND AUTHORITIES
 1
             The wire fraud charges (Counts 3, 4, and 5) represent the government’s effort to
 2
     transform an unappealing obstruction and misprision case into a full-fledged fraud case with
 3
     sympathetic victims. This alchemy fails for five reasons.
 4
             First, Kelly v. United States, 140 S. Ct. 1565 (2020), requires that obtaining money or
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     property be the object of the scheme to defraud, and not merely an “incidental byproduct” of the
 6
     scheme. The wire fraud counts do not adequately allege that continuing to receive service fees
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     (the money or property at issue) from Uber drivers (the alleged victims) was more than an
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     “incidental byproduct” of Sullivan’s alleged effort to conceal the 2016 incident.
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             Second, and relatedly, the wire fraud counts allege that the object of the charged scheme
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     to defraud was to maintain the service fees paid by existing drivers, not to obtain new or
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     increased service fees. The Ninth Circuit recently rejected the “maintenance” property theory in
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     the context of an alleged scheme to permit the defendants to continue drawing their salaries. See
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     United States v. Yates, 16 F.4th 256, 266–67 (9th Cir. 2021). The Yates holding applies equally
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     in this context.
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             Third, to the extent the wire fraud counts rest on affirmative misrepresentations, they
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     violate the convergence principle of United States v. Lew, 875 F.2d 219 (9th Cir. 1989), because
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     the persons allegedly deceived (Uber’s CEO and outside counsel) were not among the persons
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     from whom Sullivan allegedly intended to continue receiving money or property (Uber’s
19
     drivers). See id. at 221 (“[T]he intent [of the mail or wire fraud scheme] must be to obtain money
20
     or property from the one who is deceived.”).
21
             Fourth, to the extent the wire fraud counts rest on an alleged omission—Sullivan’s
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     nondisclosure of the 2016 incident to Uber drivers—those counts fail because Sullivan had no
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     duty to disclose the incident under the California statute on which the charges rest (Cal. Civil
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     Code § 1798.82(a)).
25
             Finally, the government’s omissions theory violates the federalism principles that have
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     long guided interpretation of the federal fraud statutes. The government’s approach would turn
27
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 1   almost any violation of a state data breach notification law into a federal felony. Section
 2   1798.82(a), for example, provides only civil remedies for a failure to provide notification of a
 3   breach, and then only to persons actually injured by the nondisclosure. See id. § 1798.84(b). But
 4   under the government’s theory, any such knowing failure (as long as it is furthered by a mailing
 5   or an interstate wiring such as an email) would expose the responsible person to federal felony
 6   liability and up to twenty years in prison. Such a dramatic shift in enforcement power from the
 7   states to federal prosecutors is especially inappropriate because Congress has repeatedly declined
 8   to enact a federal data breach notification statute, preferring to leave the matter to the states to
 9   regulate.
10          For all these reasons, the Court should dismiss the wire fraud counts.
11                                             BACKGROUND

12          The superseding indictment (ECF No. 71) (“SI”), adds three wire fraud counts—Counts
13   3, 4, and 5. The indictment rests those counts on an alleged scheme to defraud running from “on
14   or about November 14, 2016, and continuing through in or about November 2017.” SI ¶ 6. The
15   alleged scheme’s object, according to the indictment, was to deprive Uber’s drivers of “material
16   information relevant to a driver’s decision to continue driving for Uber and paying the associated
17   Service Fee to Uber.” Id. ¶ 9.
18          The “Service Fee” paid by Uber’s drivers appears to be the “money and property” at
19   issue in the wire fraud counts.1 The indictment alleges:
20                  According to the contracts governing Uber’s relationship with its
                    California drivers at the relevant time, Uber was a provider of a
21                  ride-sharing platform. Individuals who offered rides within that
                    platform (hereinafter “drivers”) were not characterized by Uber as
22                  “employees” under these contracts, and they were not promised a
                    traditional wage. Instead, the drivers agreed to pay a “Service Fee”
23

24
     1
       The wire fraud counts might be read to allege that the money or property at issue is “material
     information relevant to a driver’s decision to continue driving for Uber and paying the associated
25   Service Fee to Uber.” Under controlling Ninth Circuit law, such “information” does not
     constitute money or property under the mail and wire fraud statutes. See, e.g., Yates, 16 F.4th at
26   265 (“There is no cognizable property interest in the ethereal right to accurate information.”)
     (quotation omitted). If the government pursues the “information” theory in its opposition, we
27   will address it further in our reply.
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                       to Uber in exchange for the right to use that platform. Uber’s role
 1                     was to act as the drivers’ agent in collecting fares from the users of
                       Uber’s platform (hereinafter “riders”) via Uber’s payment
 2                     processing platform. The Service Fee paid by drivers to Uber was
                       in exchange for the use of the driver application and certain other
 3                     services.
 4   Id. ¶ 7.
 5              The alleged scheme to defraud involved both “materially false and misleading
 6   statements” and “failing to disclose material facts with a duty to disclose.” Id. ¶ 6; see id. ¶ 16.
 7   The indictment alleges three misrepresentations:
 8              (1) a nondisclosure agreement between Uber and the hackers responsible for the 2016
 9   incident that “falsely stated that the hackers had neither taken nor stored Uber’s data in the
10   course of the 2016 Data Breach,” id. ¶ 10;
11              (2) a September 20, 2017 email from Sullivan to Uber’s CEO “falsely stating that the
12   hackers’ bounty had only been paid after the hackers had been identified” and “misrepresent[ing]
13   the scope of the breach, suggesting both that the hackers had merely accessed folders containing
14   Uber’s data, as opposed to taking and storing that data, and suggesting that the event was not, in
15   fact, a data breach,” id.; and
16              (3) a September 25, 2017 email to Uber’s outside counsel “falsely suggest[ing] . . . that
17   the 2016 Data Breach was not, in fact, a data breach, and falsely claim[ing] that the incident was
18   no different factually from many other security incidents,” id.
19              The indictment does not charge that any of these alleged misrepresentations was directed
20   to Uber drivers or was even known to Uber drivers.
21              The alleged omission rests on Cal. Civil Code § 1798.82(a). SI ¶ 8. According to the
22   indictment, “California state law provides that a business operating in California that ‘owns or
23   licenses computerized data that includes personal information’ shall disclose a breach to a
24   resident of California ‘whose encrypted personal information was, or is reasonably believed to
25   have been, acquired by an unauthorized person.’” Id. (quoting § 1798.82(a)). The indictment
26   charges that “[i]n the wake of the 2016 Data Breach, SULLIVAN took measures to ensure that
27   drivers did not receive the notification required by state law.” Id. ¶ 9.
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                                                 ARGUMENT
 1
     I.     The wire fraud counts do not adequately charge that obtaining money or property
 2          from Uber drivers was anything more than an incidental byproduct of the alleged
            scheme.
 3
            Under Kelly v. United States, 140 S. Ct. 1565 (2020), the wire fraud counts fail
 4
     adequately to charge that obtaining money or property from Uber drivers was more than an
 5
     incidental byproduct of the alleged scheme to defraud.
 6
            In McNally v. United States, 483 U.S. 350 (1987), the Supreme Court held that the mail
 7
     fraud statute is “limited in scope to the protection of property rights.” Id. at 360.2 Kelly, arising
 8
     from the George Washington Bridge lane realignment scandal known as “Bridgegate,” declared
 9
     that “property must play more than some bit part in a scheme: It must be an object of the fraud.
10
     Or, put differently, a property fraud conviction cannot stand when the loss to the victim is only
11
     an incidental byproduct of the scheme.” Kelly, 140 S. Ct. at 1573 (quotations and citations
12
     omitted); See, e.g., United States v. Palma, No. 19-20626, 2021 WL 5040326, at *3–4 (E.D.
13
     Mich. Oct. 28, 2021) (dismissing conspiracy to commit wire fraud charge for failure to allege a
14
     sufficiently direct causal nexus between the defendant’s alleged fraud and the alleged victims’
15
     loss of money); United States v. Ernst, 502 F. Supp. 3d 637, 652 (D. Mass. 2020) (rejecting
16
     property fraud allegation where property—access to the work of a university’s staff—was an
17
     “incidental byproduct” of the alleged scheme to obtain admission through dishonest means).3
18
             The government maintained in Kelly that the defendants—a staffer for New Jersey
19
     Governor Chris Christie and a Port Authority official—sought to obtain the Port Authority’s
20
     property by “depriv[ing] the Port Authority of the costs of compensating the traffic engineers and
21
     back-up toll collectors who performed work relating to the lane realignment.” Kelly, 140 S. Ct. at
22

23   2
      The “scheme or artifice to defraud” element, including the money or property requirement, is
24   construed identically in the mail and wire fraud statutes. See, e.g., Neder v. United States, 527
     U.S. 1, 20–21 (1999); Yates, 16 F.4th at 264.
25   3
       In the wake of McNally, Congress enacted 18 U.S.C. § 1346, which declares that “the term
26   ‘scheme or artifice to defraud’ [in the mail, wire, and bank fraud statutes] includes a scheme or
     artifice to deprive another of the intangible right of honest services.” Section 1346 is not at issue
27   in this case.
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 1   1572. The Court rejected this theory. Although the Court acknowledged that “a scheme to usurp
 2   a public employee’s paid time is one to take the government’s property,” it found that the
 3   defendants’ plan “never had that as an object. The use of Port Authority employees was
 4   incidental to—the mere cost of implementing—the sought-after regulation of the Bridge’s toll
 5   lanes.” Id.; see id. at 1573–74 (“The time and labor of Port Authority employees were just the
 6   implementation costs of the defendants’ scheme to reallocate the Bridge’s access lanes. Or said
 7   another way, the labor costs were an incidental (even if foreseen) byproduct of Baroni’s and
 8   Kelly’s regulatory object. Neither defendant sought to obtain the services that the employees
 9   provided.”).
10          The wire fraud counts here suffer from the very flaw Kelly identified. Fairly read, the
11   indictment portrays the effort to characterize the 2016 Incident as a “bug bounty” as an attempt
12   to conceal the incident from the FTC and, later, from Uber’s new management. None of the facts
13   alleged in the indictment suggests that Sullivan or anyone else involved in that effort even
14   considered the drivers’ service fees, much less that continuing to receive those fees was “an
15   object of the fraud.” Kelly, 140 S. Ct. at 1573. The most that can be said from the face of the
16   indictment is that the continued payment of the service fees was an “incidental byproduct of the
17   scheme.” Id.
18          The discovery confirms what is evident from the face of the indictment. Not a single
19   witness statement, email, text, or other contemporaneous document produced to the defense so
20   much as hints that Sullivan or others at Uber responsible for addressing the 2016 Incident gave
21   any thought to the drivers’ service fees. Not a scrap of evidence suggests that maintaining such
22   fees was the “object” of Sullivan’s activities. The wire fraud charges do not satisfy Kelly and
23   should be dismissed.
24   II.    The Ninth Circuit recently rejected the government’s “maintenance” property
            theory.
25
            The government’s property theory has a second, related flaw: it rests on the allegation
26
     that the scheme to defraud “deprived [Uber’s] drivers of material information relevant to a
27
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 1   driver’s decision to continue driving for Uber and paying the associated Service Fee to Uber.” SI
 2   ¶ 9 (emphasis added). In other words, the object of the alleged scheme was to maintain existing
 3   drivers and their associated service fees, not to obtain fees from new drivers or increased fees
 4   from existing drivers. The Ninth Circuit recently rejected this “maintenance” theory, Yates, 16
 5   F.4th at 266–67, and this Court should do likewise.
 6          In Yates, the government charged two bank employees with bank fraud. It alleged that the
 7   employees had deceived the bank about loans and other bank matters for which they were
 8   responsible. To satisfy the “property” element of the bank fraud statute, the government argued
 9   that the defendants sought to deprive the bank of their salaries and bonuses—that is, that “‘the
10   continuation of the benefits of employment . . . was a purpose of the conspiracy.’” Id. at 266
11   (quoting government argument).
12          The Ninth Circuit rejected this argument. It drew a distinction between “a scheme whose
13   object is to obtain a new or higher salary and a scheme whose object is to deceive an employer
14   while continuing to draw an existing salary—essentially, avoiding being fired.” Id. After
15   analyzing the Supreme Court’s fraud cases, the court of appeals concluded that the government’s
16   “salary maintenance theory” did not suffice to establish an offense. See id. at 267–68.
17          The United States District Court for the District of Columbia recently applied Yates in
18   dismissing a wire fraud charge. United States v. Guertin, No. 1:21-CR-262 (TNM), 2022 WL
19   203467 (D.D.C. Jan. 24, 2022). The defendant in Guertin, a State Department official, allegedly
20   lied on his periodic background security questionnaire. The government charged him with wire
21   fraud. The indictment alleged that, through his misrepresentations, Guertin sought to
22   “‘unlawfully enrich himself by maintaining his State Department employment and salary.’” Id. at
23   *2 (quoting indictment; emphasis added by district court).
24          The district court found this allegation insufficient to satisfy the wire fraud statute’s
25   requirement that the scheme to defraud have as its object the “obtaining [of] money or property.”
26   The court observed that “a scheme to ‘maintain’ something is not synonymous with a scheme to
27   ‘obtain’ the same thing. The word ‘obtain’ generally connotes affirmative action to secure
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 1   something outside one’s possession. The word ‘maintain,’ by contrast, connotes action to
 2   preserve the status quo.” Id. “The upshot,” the court continued, “is that to state an offense under
 3   the plain meaning of § 1343, the Government must allege a defendant’s scheme sought to gain
 4   possession of something not previously in his possession. And by extension, the Indictment’s
 5   allegation that Guertin merely sought to ‘maintain’ his salary does not suffice.” Id. at *2. Relying
 6   heavily on the Ninth Circuit’s decision in Yates, the court concluded that “[b]ecause the
 7   Indictment alleges that Guertin sought to ‘maintain,’ not ‘obtain’ a salary, it does not state an
 8   offense within the plain meaning of § 1343.” Id. at *4.
 9          The government’s wire fraud theory here has exactly the flaw identified in Yates and
10   Guertin. The indictment does not allege that the object of the charged scheme was to obtain new
11   drivers, with their associated service fees. Nor does it allege that the object of the scheme was to
12   obtain higher service fees from existing drivers. It alleges instead that Sullivan “deprived
13   [Uber’s] drivers of material information relevant to a driver’s decision to continue driving for
14   Uber and paying the associated Service Fee to Uber.” SI ¶ 9 (emphasis added). In other words,
15   the stated object of the alleged scheme was to maintain existing drivers and their fees, not to
16   obtain new drivers or increased fees from existing drivers. To paraphrase Yates, the indictment
17   alleges at most that Sullivan sought to “deceive [Uber’s drivers] while continuing to draw [the]
18   existing [service fees]—essentially, avoiding being fired” by the drivers. Yates, 16 F.4th at 266.
19          Counts 3, 4, and 5, like the wire fraud count in Guertin, must be dismissed for failure to
20   charge an offense under the plain language of 18 U.S.C. § 1343.
21   III.   The affirmative misrepresentation theory violates the convergence requirement.

22          The Ninth Circuit has held that “the intent [of the mail or wire fraud scheme] must be to
23   obtain money or property from the one who is deceived.” United States v. Lew, 875 F.2d 219,
24   221 (9th Cir. 1989). The wire fraud counts’ affirmative misrepresentation theory violates this
25   “convergence” principle and thus cannot support those charges. See, e.g., United States v.
26   Holmes, No. 5:18-CR-00258-EJD, 2020 WL 666563, at *15–22 (N.D. Cal. Feb. 11, 2020)
27   (dismissing wire fraud counts that violated the Lew convergence principle).
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 1          As discussed above, the wire fraud counts rest on three alleged affirmative
 2   misrepresentations: (1) a nondisclosure agreement between Uber and the hackers responsible for
 3   the 2016 incident that “falsely stated that the hackers had neither taken nor stored Uber’s data in
 4   the course of the 2016 Data Breach,” SI ¶ 10; (2) a September 20, 2017 email from Sullivan to
 5   Uber’s CEO “falsely stating that the hackers’ bounty had only been paid after the hackers had
 6   been identified” and “misrepresent[ing] the scope of the breach, suggesting both that the hackers
 7   had merely accessed folders containing Uber’s data, as opposed to taking and storing that data,
 8   and suggesting that the event was not, in fact, a data breach,” id.; and (3) a September 25, 2017
 9   email to Uber’s outside counsel “falsely suggest[ing] . . . that the 2016 Data Breach was not, in
10   fact, a data breach, and falsely claim[ing] that the incident was no different factually from many
11   other security incidents,” id.
12          None of these alleged misrepresentations was directed to Uber drivers, from whom
13   Sullivan allegedly sought to continue receiving service fees. The indictment does not allege that
14   Sullivan intended the drivers to become aware of, or to be deceived by, the alleged
15   misrepresentations. Nor, for all the discovery shows, will the government be able to offer any
16   such proof at trial. Because the persons allegedly deceived by the alleged misrepresentations—
17   Uber’s CEO and outside counsel—were not among the persons from whom Sullivan allegedly
18   intended to continue receiving money or property—Uber drivers—the misrepresentations cannot
19   support the wire fraud charges. See, e.g., Holmes, 2020 WL 666563, at *15–22.
20   IV.    The omission theory fails because the Indictment does not allege a duty to disclose.

21          “[A] non-disclosure can only support a fraud charge when the defendant has a duty to
22   disclose the omitted information.” United States v. Shields, 844 F.3d 819, 822–23 (9th Cir.
23   2016). Here, the duty to disclose charged in the indictment rests on Cal. Civil Code § 1798.82(a).
24   SI ¶ 8. But that provision imposed no disclosure duty on Sullivan and thus cannot support the
25   charges against him.
26          Section 1798.82(a) imposes a data breach notification duty, under specified
27   circumstances, on “[a] person or business that conducts business in California, and that owns or
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 1   licenses computerized data that includes personal information.”4 The indictment does not allege,
 2   and the government could not prove at trial, that Sullivan “own[ed] or license[d] computerized
 3   data that includes personal information.” Uber might (or might not) have “own[ed] or license[d]”
 4   such data (although the indictment does not clearly allege even that); Sullivan, the defendant in
 5   this case, plainly did not.5 Because the sole statute on which the indictment relies for its
 6   allegation of a duty to disclose does not apply to Sullivan, the government’s omission theory
 7   fails.
 8            There is good reason to resist government efforts to expand the limited scope of
 9   § 1798.82(a) as a means of creating federal criminal liability. The Supreme Court has repeatedly
10   repudiated prosecutorial efforts to use broadly worded federal criminal statutes to inject the
11   federal government into areas traditionally regulated by the states. In Cleveland v. United States,
12   531 U.S. 12 (2000), for example, the Court rejected the government’s argument that a Louisiana
13   regulator parts with “property” for purposes of the mail fraud statute when it issues a video poker
14   license. The Court emphatically declined the government’s invitation to “approve a sweeping
15   expansion of federal criminal jurisdiction in the absence of a clear statement by Congress.
16   Equating issuance of licenses or permits with deprivation of property would subject to federal
17   mail fraud prosecution a wide range of conduct traditionally regulated by state and local
18   authorities.” Id. at 24.6
19   4
       We assume solely for purposes of this motion—but do not concede—that the 2016 Incident
20   involved a “breach of the security of the [Uber] system,” as defined at § 1798.82(g).

21
     5
       By contrast, § 1798.82(b) imposes a notification duty on “[a] person [who] maintains
     computerized data that includes personal information that the person . . . does not own.” But the
22   notification duty under § 1798.82(b) runs to “the owner or licensee of the information,” not to
     the person to whom the information relates. Thus, even if § 1798.82(b) applied to Sullivan
23   (which we do not concede), it would impose a duty of disclosure to Uber, not to Uber’s drivers.
     Sullivan satisfied any duty he owed under § 1798.82(b) by disclosing the 2016 Incident to Uber’s
24   then-CEO and others within the company.
     6
25     See, e.g., Kelly, 140 S. Ct. at 1574 (rejecting reading of wire fraud statute that would cause a
     “ballooning of federal power” and allow “the Federal Government [to] use the criminal law to
26   enforce (its view of ) integrity in broad swaths of state and local policymaking”); Bond v. United
     States, 572 U.S. 844, 862-63 (2014) (declining to read 18 U.S.C. § 229 broadly to “alter sensitive
27   federal-state relationships”) (quotation omitted); Williams v. United States, 458 U.S. 279, 290
     (1982) (construing statute narrowly in part because the case involved “a subject matter that
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 1          These federalism concerns weigh heavily in this case. Since California enacted § 1798.82
 2   in 2002, every state has adopted a data breach notification statute. Those statutes vary
 3   significantly in scope and, in particular, in defining the circumstances under which notification
 4   must be given. Enforcement mechanisms for violations of the notification statutes likewise
 5   vary—some states permit a private right of action, others leave enforcement to state authorities,
 6   and still others have no enforcement mechanism. But the states are united on one point: no state
 7   imposes criminal penalties on violators.7
 8          While the states have been enacting these statutes, Congress has repeatedly considered
 9   and elected not to enact a federal data breach disclosure statute.8 The opponents of such
10   nationwide legislation have cited federalism—the importance of permitting states to regulate
11   data breaches according to local needs—as a reason to eschew a one-size-fits-all federal statute.
12   The government’s omissions theory, based on a violation of § 1798.82(a), would effectively
13   obliterate the legislative judgment Congress has made over the years to leave regulation of data
14   breach notifications to the states.
15          An examination of the California data breach notification law demonstrates the
16   “sweeping expansion of federal jurisdiction” the government seeks to accomplish through this
17   case. The California data breach statutes reflect a carefully calibrated notification scheme.
18   Section 1798.82 contains detailed notification provisions. The statute is replete with definitions,
19
     traditionally has been regulated by state law”); Rewis v. United States, 401 U.S. 808, 812 (1971)
20   (construing 18 U.S.C. § 1952 and rejecting a broad interpretation where it “would alter sensitive
     federal-state relationships”); see also United States v. Ratcliff, 488 F.3d 639, 648–49 (5th Cir.
21   2007) (rejecting application of mail fraud statute to local election fraud in part because
     “Louisiana law establishes a comprehensive regulatory system governing campaign
22   contributions and finance disclosures for state and local elections, with state civil and criminal
     penalties in place for making misrepresentations on campaign finance disclosure reports”).
23   7
      For a summary of state data breach notification statutes, see Foley & Lardner LLP, State Data
24   Breach Notification Laws, https://www.foley.com/-/media/files/insights/publications/2021/11/
     21mc37325-data-breach-chart-1101821.pdf?la=en.
25   8
      For a history of Congressional consideration of federal data breach notification bills, see
26   National Technology Security Coalition, A National Data Breach Notification Legislation
     Framework (2021), https://www.ntsc.org/assets/pdfs/NTSC_NationalDataBreach-Whitepaper-
27   2021.pdf.
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 1   circumstances under which notification is and is not required, the precise form notification
 2   should take, and permissible means of notification. Section 1798.83 addresses a particular type
 3   of breach (not at issue here): when “a business has an established business relationship with a
 4   customer and has within the immediately preceding calendar year disclosed personal information
 5   . . . to third parties, and if the business knows or reasonably should know that the third parties
 6   used the personal information for the third parties’ direct marketing purposes.” Cal. Civil Code
 7   § 1798.83(a).
 8          Section 1798.84 provides remedies for violations of the notification provisions. The
 9   statute does not impose criminal liability. It creates a $3000 civil penalty for a “willful,
10   intentional, or reckless violation” of § 1798.83 (not at issue here), and a $500 penalty for other
11   violations of that statute. By contrast, the statute does not authorize a civil penalty even for
12   deliberate violations of § 1798.82, the statute on which the government relies here. See id.
13   § 1798.84(c).
14          Section 1798.84(b) permits a civil cause of action to recover damages for “[a]ny
15   customer injured by a violation of this title.”9 By its terms, § 1798.84(b) limits the class of
16   potential plaintiffs to those who have been actually injured by the delay in disclosing the security
17   breach. Persons who suffer no injury from a delayed notification or complete nondisclosure have
18   no right of action. See, e.g., In Re Adobe Sys., Inc. Privacy Litig., 66 F. Supp. 3d 1197, 1218
19   (N.D. Cal. 2014) (dismissing § 1798.82 claims because, “by failing to allege any injury resulting
20   from a failure to provide reasonable notification of the 2013 data breach, Plaintiffs have not
21   plausibly alleged that they have standing to pursue a Section 1798.82 claim.”); In re Sony
22   Gaming Networks and Customer Data Security Breach Litigation, 996 F. Supp. 2d 942, 1010
23   (S.D. Cal. 2014) (same); Boorstein v. CBS Interactive, Inc., 222 Cal. App. 4th 456, 466–67
24   (2013) (same).
25   9
       “Customer” is defined as “an individual who provides personal information to a business for
26   the purpose of purchasing or leasing a product or obtaining a service from the business.” Cal.
     Civ. Code § 1798.80(c). We assume only for purposes of this motion that Uber drivers are
27   “customers” of Uber. They clearly are not “customers” of Sullivan personally.
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 1          The government proposes to take a sledgehammer to California’s data breach notification
 2   scheme, and to similar schemes that other states have adopted. Under the government’s
 3   omissions theory, the knowing breach of a state statute that lacks any criminal provision and
 4   even any civil penalty or private right of action will become (assuming a sufficiently related
 5   wiring or mailing, which will virtually always be present) a federal felony with a twenty year
 6   statutory maximum punishment. As Cleveland and similar cases make clear, the Court should
 7   embrace such a theory only if clearly compelled to do so by plain statutory language. There is no
 8   such language here. As discussed in Parts I and II, the government has failed adequately to allege
 9   that Sullivan sought to obtain the drivers’ money or property (the service fees), and
10   § 1798.82(a)—the sole source of his alleged duty to disclose the 2016 incident to the drivers—by
11   its terms does not apply to him.
12          The government’s approach has a related federalism problem. Because state data breach
13   notification statutes vary, a person’s potential mail and wire fraud liability will similarly vary
14   depending on the applicable state law—and that, in turn, depends on the location of the person
15   and the residence of those whose personal information has been acquired through the data
16   breach. Most significantly, many states do not require notification if the holder of the data (here,
17   Uber) conducts a prompt investigation of any breach and reasonably determines that harm to
18   state residents is not likely to result.10 Sullivan’s Security department team conducted precisely
19   10
        See, e.g., Ala. Code § 8-38-5(a) (notification required only if, after prompt, good faith
20   investigation, information holder finds the breach is reasonably likely to cause substantial harm
     to the individuals to whom the information relates); Ariz. Rev. Stat. § 18-552(J) (similar); Ark.
21   Code § 4-110-105(d) (similar); Colo. Rev. Stat. § 6-1-716(2)(a) (similar); Conn. Gen. Stat. §
     36a-701b(b)(1) (similar); Del. Code Ann. tit. 6 § 12B-102(a) (similar); Idaho Code § 28-51-
22   105(1) (similar); Ind. Code § 24-4.9-3-1(a) (similar); Iowa Code § 715C.2(6) (similar); Kan.
     Stat. § 50-7a02(a) (similar); Ky. Rev. Stat. § 365.732(1)(a) (“breach” occurs only when
23   acquisition actually causes, or leads the information holder to reasonably believe has caused or
     will cause identity theft or fraud against state resident); La. Rev. Stat. § 51:3074(I) (no
24   notification required if, after reasonable investigation, information holder determines that there is
     no reasonable likelihood of harm to resident); 10 Me. Rev. Stat. § 1348(1)(B) (similar); Md.
25   Code Com. Law § 14-3504(b)(2) (similar); Mass. Gen. Laws § 93H § 1(a) (“breach” requires
     substantial risk of identity theft or fraud against resident); Mich. Comp. Laws §§ 445.72(1) (no
26   notification required if information holder determines that the breach has not or is not likely to
     cause substantial loss or injury to, or result in identity theft with respect to, a state resident);
27   Miss. Code § 75-24-29(3) (similar); Mo. Rev. Stat. § 407.1500.2(5) (similar); Neb. Rev. Stat. §
     87-803(1) (similar); N.H. Rev. Stat. § 359-C:20(I)(a) (similar); N.J. Stat. § 56:8-163(a) (similar);
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 1   such an investigation of the 2016 Incident and correctly determined that no harm would come
 2   from the hackers’ intrusion. Under the data breach notification laws of more than 30 states (see
 3   supra note 10), neither Sullivan nor Uber would have had any notification duty (and thus no
 4   federal criminal liability) under the government’s omissions theory. But because of the
 5   happenstance that some drivers whose data was accessed resided in California, that state’s more
 6   stringent data breach notification statute applies (according to the government’s incorrect reading
 7   of § 1798.82(a)), subjecting Sullivan to federal felony liability.
 8          The Supreme Court has warned against precisely this circumstance. In Rewis v. United
 9   States, 401 U.S. 808 (1971), the Court rejected the government’s broad interpretation of the
10   Travel Act, 18 U.S.C. § 1952, in part because it “might well produce situations in which the
11   geographic origin of customers, a matter of happenstance, would transform relatively minor state
12   offenses into federal felonies.” Id. at 812. The government seeks to do here what Rewis forbids:
13   use the “geographic origin” of Uber drivers, “a matter of happenstance,” to transform conduct
14   that is not even a criminal offense under state law into a federal felony.
15

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18   N.M. Stat. § 57-12C-6(B) (similar); Ohio Rev. Code § 1349.19-192(A)(1)(a) (“breach” only
     occurs when acquisition of data causes, reasonably is believed to have caused, or reasonably is
19   believed will cause a material risk of identity theft or other fraud against resident); Ok. Stat., tit.
     24, § 162(1) (similar); Or. Rev. Stat. § 646A.604(8) (no notification required if, after appropriate
20   investigation, information holder reasonably determines that there is no likelihood of harm); 73
     Pa. Stat. § 2302 (“breach” only occurs when acquisition of data causes, or the information holder
21   reasonably believes has caused or will cause loss or injury to resident); R.I. Gen. Laws § 11-
     49.3-4(a)(1) (notification required if breach “poses a significant risk of identity theft”); S.C.
22   Code Ann. § 39-1-90(A) (notification required when illegal use of the information has occurred
     or is reasonably likely to occur or use of the information creates a material risk of harm to
23   resident); Utah Code § 13-44-202(1)(b) (no notification required if after reasonable and prompt
     investigation it is not revealed that misuse of personal information for identity theft or fraud has
24   occurred or is reasonably likely to occur); Va. Code § 18.2-186.6(A)-(C) (similar); Wash. Rev.
     Code § 19.255.010(1) (notification not required if breach is not reasonably likely to subject
25   consumers to risk of harm); W.Va. Code §§ 46A-2A-101(1), -102(a), (b) (similar); Wis. Stat. §
     134.98(2)(cm)(1) (similar); Wyo. Stat. §§ 40-12-501(a)(i) (“breach” only occurs when
26   acquisition of data causes or is reasonably believed cause loss or injury to resident), 502(a)
     (notification only required if investigation determines that misuse of resident’s data has occurred
27   or is reasonably likely to occur).
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                                             CONCLUSION
 1
            For the foregoing reasons, the Court should dismiss the wire fraud counts for failure to
 2
     charge an offense.
 3

 4
     DATED: April 11, 2022.
 5                                                s/ David H. Angeli
 6                                                David H. Angeli
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 7                                                Tyler P. Francis
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